     Case
      Case2:09-cr-00185-JAD-CWH
           2:09-cr-00185-PMP -LRL Document
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 1                     UNITED STATES DISTRICT COURT
 2                          DISTRICT OF NEVADA
 3                                 -oOo-
 4    UNITED STATES OF AMERICA,               )
                                              )
 5                          Plaintiff,        ) 2:09-cr-185-PMP-LRL
                                              )
 6           vs.                              )
                                              ) ORDER STAYING GOVERNMENT’S
 7                                            ) DEADLINE TO RESPOND TO
      CARL VON BRADLEY,                       ) DEFENDANT’S 28 U.S.C. § 2255 PETITION
 8                                            )
                            Defendant.        )
 9                                            )

10           Based on the pending application of the Government, and good cause appearing,

11           IT IS THEREFORE ORDERED that the that the Government’s deadline for

12    responding to Defendant’s 28 U.S.C. § 2255 petition is stayed until 30 days from the date

13    Rene Valladares provides the information requested in the Government’s motion to waive

14    the attorney-client privilege.

15           DATED: this 23rd
                         _____day
                               dayofof
                                     May, 2012.      , 2012.

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17                                              ________________________________
                                                UNITED STATES DISTRICT JUDGE
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